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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Jerry Bianco,                                  NO. CV-21-00201-PHX-MTL
10                   Plaintiff,
                                                   CLERK’S ENTRY OF DEFAULT
11   v.
12   Elite Funding Incorporated,
13                   Defendant.
14
15            Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure and upon

16   application by the Plaintiff, default is hereby entered against Defendant Elite Funding

17   Incorporated.

18   DEFAULT ENTERED this 5th day of August, 2021.

19                                            Debra D. Lucas
                                              District Court Executive/Clerk of Court
20
21   August 5, 2021
                                              s/ K. Hughes
22                                       By   Deputy Clerk
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